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   United States of America
 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:11-CR-00210 JAM

12                                        Plaintiff,        STIPULATION AND ORDER CONTINUING
                                                            IMPOSITION OF JUDGMENT & SENTENCING
13                             v.
                                                            DATE: MAY 27, 2014
14   VERA KUZMENKO, et. al.,                                TIME: 9:45 A.M.
                                                            JUDGE: JOHN A. MENDEZ
15                                        Defendants.

16

17                                                      STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant Leah
19 Isom, by and through his counsel of record, hereby stipulate that the status conference concerning

20 judgment and sentencing in the matter presently set for May 27, 2014, at 9:45 a.m. may be vacated and

21 the matter continued to February 17, 2015, at 9:30 a.m. for a status conference regarding the imposition

22 of judgment and sentence.

23          Ms. Isom’s plea agreement with the government contains a cooperation provision and the
24 government is not able to adequately assess the degree of his cooperation until the charges against others

25 have been tried or otherwise disposed of. For that reason, the parties have stipulated that the current

26 date for a status conference concerning imposition of judgment and sentencing may be vacated and the

27 matter continued to February 17, 2015, at 9:30 a.m. for a status conference regarding a new date for

28 imposition of judgment and sentencing and the setting of a new schedule of disclosures for the pre-

     Stipulation to Continue Sentencing                      1
              Case 2:11-cr-00210-DAD Document 250 Filed 04/28/14 Page 2 of 2


 1 sentencing report.

 2 IT IS SO STIPULATED.

 3 DATED: April 28, 2014                                 BENJAMIN B. WAGNER
                                                         United States Attorney
 4
                                                         /s/ Lee S. Bickley
 5                                                       LEE S. BICKLEY
                                                         Assistant United States Attorney
 6
                                                         For the UNITED STATES OF AMERICA
 7

 8 DATED: April 28, 2014                                 /s/ Lee S. Bickley for
                                                         CANDACE A. FRY
 9
                                                         For defendant LEAH ISOM
10

11

12
                                                   ORDER
13

14          IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
15
     parties that the status conference concerning imposition of judgment and sentencing in this matter
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     currently scheduled for 9:45 a.m. on May 27, 2014, is vacated and the matter is continued to February
17
     17, 2015, at 9:30 a.m. for a status conference regarding the imposition of judgment and sentence.
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19 This 28th day of April, 2014.

20                                                       /s/ John A. Mendez_________________
                                                         HONORABLE JOHN A. MENDEZ
21                                                       UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Sentencing                 2
